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DOCKET NUMBER:CR 19-0207(NGG)
                                  CRIMINAL CAUSE FOR SENTENCING

Date Received By Docket Clerk:_                            Docket Clerk Initials:

BEFORE JUDGE: GARAUFIS DATE:SEPTEMBER 27,2019 TIME IN COURT                                60       MINS
HRS                                               @ 2:30 PM.
1. DEFENDANT : MICHAEL BROGAN

Present X Not Present        Custody                     Not Custody X
DEFENSE COUNSEL: MICHAEL SCHNEIDER
X   FEDERAL DEFENDER:                      CJA:                RETAINED:


2. DEFENDANT:


Present       Not Present       Custody    Not Custody

DEFENSE COUNSEL:
    FEDERAL DEFENDER:               CJA:           RETAINED:


A.U.S.A.: PHILIP SELDEN


COURT REPORTER: LINDA DANELCZYK                                            ESR:
INTERPRETER:                LANGUAGE:
□     Change of Plea Hearing (~Util-Plea Entered)          □       Revocation of Probation contested
□     Status Conference
□     Motion                                               □       Sentencing on a violation
□         Pre Trial Conference
□         Motion Hearing                                   □      Violation of Supervised Release
          □      Plea Entered                              X      Sentencing
□     Bail Appeal                                       □     Motion for sentence      reduction
□     Voir Dire Begun                                  □      Oral Argument
□     Voir Dire Held              Jury selection        □     Jury trial
□     Jury Trial Death Penalty    □       Sentence enhancement Phase        □            Bench Trial Begun
Speedy Trial Start:     Speedy Trial Stop:       CODE TYPE: XT

Do these minutes contain ruling(s) on motion($)?            YES                          NO     X

SENTENCING HELD; THE JUDGMENT WILL BE PREPARED AND FILED SHORTLY.
